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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.    Debtor's name                    ARS Specialty Contractors LLC

2.    All other names debtor used      dba ARS Auto Sales; aka ARS Floor Systems; aka ARS Concrete & Coatings; aka Garren
      in the last 8 years              Construction
      Include any assumed names,
      trade names and doing
      business as names


3.    Debtor's federal Employer
      Identification Number (EIN)          4      6      –      1      3        8    7         5   9     2

4.    Debtor's address                 Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       307 Lombrano Street                                             9734 Mid Walk Drive
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       San Antonio                         TX       78207              San Antonio                   TX      78230
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Bexar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.    Debtor's website (URL)

6.    Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor ARS Specialty Contractors LLC                                                       Case number (if known)

7.    Describe debtor's business        A. Check one:

                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                        B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in
                                             15 U.S.C. § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                        C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes

                                              2      3      8      1

8.    Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
      A debtor who is a "small               Chapter 11. Check all that apply:
      business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
      the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
      debtor") must check the second
      sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                                OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                                sheet, statement of operations, cash-flow statement, and federal income tax
                                                                return, or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                                Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                                form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                Rule 12b-2.

                                             Chapter 12




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Debtor ARS Specialty Contractors LLC                                                       Case number (if known)

9.    Were prior bankruptcy                  No
      cases filed by or against
      the debtor within the last 8           Yes. District                                        When                    Case number
      years?                                                                                             MM / DD / YYYY
                                                  District                                        When                    Case number
      If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
      separate list.
                                                  District                                        When                    Case number
                                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                    District                                                    When
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                       Case number, if known


                                                    Debtor                                                      Relationship

                                                    District                                                    When
                                                                                                                               MM / DD / YYYY
                                                    Case number, if known


11. Why is the case filed in            Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                             days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                             any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                             district.


12. Does the debtor own or                   No
    have possession of any                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                     needed.
    property that needs
                                                  Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                       related assets or other options).

                                                       Other


                                                  Where is the property?
                                                                                Number      Street




                                                                                City                                      State        ZIP Code

                                                  Is the property insured?

                                                       No
                                                       Yes. Insurance agency

                                                                Contact name

                                                                Phone




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Debtor ARS Specialty Contractors LLC                                                     Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds                        Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                     1-49                               1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                         50,001-100,000
                                            100-199                            10,001-25,000                        More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million               $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million              $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million             $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 06/15/2023
                                                      MM / DD / YYYY



                                          X /s/ Elizabeth Yetman Chavez
                                              Signature of authorized representative of debtor
                                              Elizabeth Yetman Chavez
                                              Printed name
                                              President
                                              Title




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Debtor ARS Specialty Contractors LLC                                         Case number (if known)

18. Signature of attorney       X /s/ Joyce W. Lindauer                                          Date   06/15/2023
                                    Signature of attorney for debtor                                    MM / DD / YYYY

                                    Joyce W. Lindauer
                                    Printed name
                                    Joyce Lindauer
                                    Firm name
                                    Joyce W. Lindauer Attorney, PLLC
                                    Number          Street
                                    1412 Main Street, Suite 500

                                    Dallas                                               TX              75202
                                    City                                                 State           ZIP Code


                                    (972) 503-4033                                       joyce@joycelindauer.com
                                    Contact phone                                        Email address
                                    21555700                                             TX
                                    Bar number                                           State




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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION
  IN RE:   ARS Specialty Contractors LLC                                          CASE NO

                                                                                  CHAPTER         11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/15/2023                                          Signature   /s/ Elizabeth Yetman Chavez
                                                                    Elizabeth Yetman Chavez
                                                                    President




Date                                                    Signature
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                          Advance Service Group LLC
                          2-01 5th Avenue
                          Long Island City, NY 11101



                          Alamo Concrete Products Company
                          PO Box 843912
                          Dallas, TX 75284-3912



                          American Express
                          PO Box 96001
                          Los Angeles, CA 90096-8000



                          Aquino Construction
                          Attn: Orlando Aquino
                          4866 Corian Oak Drive
                          San Antonio, TX 78219


                          Attorney General of Texas
                          Bankruptcy Division
                          P O Box 12548
                          Austin, TX 78711-2548


                          Bank of America
                          Business Card
                          PO Box 15796
                          Wilmington, DE 19886-5796


                          Bank of The West
                          1625 W. Fountainhead Parkway
                          AZ-FTN-10C-A
                          Tempe, AZ 85282


                          Campbell's Janitorial Service
                          2212 Primrose Bldg. G
                          McAllen, TX 78504



                          Capital One
                          PO Box 60519
                          City of Industry, CA 91716-0519
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                          Capital Pumping, LP
                          8217 Shoal Creek Blvd., Suite 201
                          Austin, TX 78757



                          Centerline Supply
                          530 Jesse St.
                          Grand Praire, TX 75051



                          Chase Ink
                          Cardmember Services
                          PO Box 6294
                          Carol Stream,IL 60197-6294


                          Cloudfund LLC
                          400 Rella Blvd., Suite 165-101
                          Suffern, NY 10901



                          CMC Construction
                          P Box 844573
                          Dallas, TX 75284-4573



                          Custom-Crete
                          PO Box 843466
                          Dallas, TX 75284-3466



                          Dependable LLC
                          PO Box 5938
                          Cleveland, OH 44101



                          Dur-A-Flex
                          PO Box 414220
                          Boston, MA 02241-4220



                          Espey Silica Sand Company
                          27265 US 281
                          San Antonio, TX 78260
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                          Evolution Technologies, LLC
                          8122 Datapoint Drive, Suite 205
                          San Antonio, TX 78229



                          Federated Insurance
                          1141 N. Loop 1604 E
                          Suite 105-123
                          San Antonio, TX 78232


                          Fred Levine
                          734 Overhill Drive
                          San Antonio, TX 78228



                          Frost Bank
                          PO Box 1600
                          San Antonio, TX 78296



                          Great American Insurance Group
                          2435 N. Central Expressway
                          Suite 600
                          Richardson, TX 75080


                          Gueros Specialist Concrete
                          Attn: Jesus J. Balderas
                          1015 W. Mally Blvd.
                          San Antonio, TX 78221


                          Gulf Coast Paper Co., Inc.
                          635 Billy Mitchell Blvd.
                          Brownsville, TX 78521



                          Hacker Industries G
                          1401 Dove Street, Suite 640
                          Newport Beach, CA 92660



                          Hilti San Antonio
                          PO Box 650756
                          Dalals, TX 75265-0756
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                         Humana Health
                         PO Box 4600
                         Carol Stream, IL 60197-4600



                         Ingram Ready Mix
                         3580 FM 482
                         New Braunfels, TX 78132



                         Internal Revenue Service
                         Centralized Insolvency Operations
                         PO Box 7346
                         Philadelphia, PA 19101-7346


                         JMT Trucking
                         14287 Touchstone Rd., Suite 5
                         Atascosa, TX 78002



                         Keene Building Products
                         PO Box 241353
                         Mayfield Heights, OH 44124



                         Leslie M. Luttrell
                         Luttrell + Carmody Law Group
                         100 N.E. Loop 410
                         One International Centre, Suite 615
                         San Antonio, TX 78216

                         Makina Trocas LLC
                         Attn: Armando A. Aragon
                         PO Box 241865
                         San Antonio, TX 78224


                         Martin Marietta
                         1503 LBJ Freeway, Suite 400
                         Dallas, TX 75234



                         Martinez Construction
                         Attn: Jose Martinez
                         13871 Ousett Dr.
                         Von Ormy, TX 78073
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                         Mike F. Pipkin
                         Weinstein Radclif Pipkin LLP
                         8350 N. Central Expressway
                         Suite 1550
                         Dallas, TX 75206

                         Payless Business Funding
                         Attn: Matthew Hancock
                         301 Fayetteville Street, Suite 2801
                         Raleigh, NC 27601


                         Plunkett, Griesenbeck & Mimari
                         1635 NE Loop 410, Suite 900
                         San Antonio, TX 78209



                         Poly-Tuff Systems International
                         14722 Spring Avenue
                         Santa Fe Springs, CA 90670



                         Precision Fund LLC




                         Rental One R1 Supply
                         4715 Rittiman Road
                         San Antonio, TX 78218



                         Sherwin Williams Commercial
                         2435 W. Thomas Street
                         Hammond, LA 70401-2842



                         Strong Manufacturing G
                         PO Box 8068
                         Pine Bluff, AR 71611



                         Sunbelt Rentals
                         PO Box 409211
                         Atlanta, GA 30384-9211
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                         SunCoast Post Tension
                         10830 Iota Drive
                         San Antonio, TX 78217



                         Sunstate Equipment
                         PO Box 208439
                         Dallas, TX 75320-8439



                         Targeted Lending Co., LLC
                         5500 Main Street, Suite 300
                         Williamsville, NY 14221



                         Texas Comptroller of Public Accounts
                         Revenue Accting Div - Bankr Section
                         PO Box 13528
                         Austin, TX 78711-3528


                         Texas Cutting and Coring
                         7705 FM 482
                         New Braunfels, TX 78132



                         Texas Hill Country Mobile Mixers, LLC
                         43000 IH 10 West
                         Boerne, TX 78006



                         Texas Workforce Commission
                         101 E. 15th Street
                         Austin, TX 78778-0091



                         United States Attorney
                         Civil Process Clerk
                         601 N.W. Loop 410, Suite 600
                         San Antonio, TX 78216


                         United States Attorney General
                         Department of Justice
                         950 Pennsylvania Avenue, N.W.
                         Washington, DC 20530-0009
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                         United States Trustee
                         PO Box 1539
                         San Antonio, TX 78295



                         Uprite Capital, LLC
                         PO Box 57806
                         Webster, TX 77598



                         Vestal Steel Specialties
                         17993 Red Iron
                         Schertz, TX 78154



                         Vulcan Materials Company
                         PO Box 849131
                         Dallas, TX 75284-9131



                         Weitz Morgan
                         100 Congress Avenue, Suite 2000
                         Austin, TX 78701



                         White Cap, L.P.
                         PO Box 4944
                         Orlando, FL 32802



                         Wholesale Gutter
                         8129 Jackrabbit Road
                         Houston, TX 77095



                         Worldwide Pest Control
                         PO Box 5746
                         San Antonio, TX 78201
